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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                                Chapter 11
 Yellow Corporation aka YRC Worldwide                  Case No. 23-11069-CTG
 Inc.,
                                                       Jointly administered
          Debtor.
                                                       Hearing: September 15, 2023 at 11:30 am

                                                       Obj. deadline: September 8, 2023 at 4:00 pm


           NOTICE OF MOTION OF PEAPACK CAPITAL CORPORATION FOR
                      RELIEF FROM THE AUTOMATIC STAY

          PLEASE TAKE NOTICE that Peapack Capital Corporation (“PCC”), by and through its

attorneys, in the above-captioned, jointly administered cases filed the Motion for Relief from the

Automatic Stay (the “Motion”), which seeks relief from the automatic stay imposed under section

362 of title 11 of the United States Code. You are being served with a copy of the Motion in

conjunction with this Notice.

          PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will be held on

September 15, 2023 at 11:30 am prevailing Eastern Time at the United States Bankruptcy Court

for the District of Delaware, 824 Market Street, 3rd Floor, Courtroom 7, Wilmington, Delaware

19801 (the “Bankruptcy Court”).

          PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be made

in writing, filed with the Bankruptcy Court, and served upon, so as to be actually received on or

before September 8, 2023 at 4:00 p.m. prevailing Eastern Time.

          PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy

of the response upon counsel to PCC at the address provided below.




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                                      Kate Roggio Buck
                                      McCarter & English, LLP
                                      405 N. King Street, 8th Floor
                                      Wilmington, DE 19801
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        PLEASE TAKE FURTHER NOTICE that the hearing date specified above may be a

preliminary hearing or may be consolidated with the final hearing, as determined by the Court.

        PLEASE TAKE FURTHER NOTICE that if no objection or other response to the

Motion is filed, the Bankruptcy Court may grant the relief sought in the Motion without further

notice or hearing.

        PLEASE TAKE FURTHER NOTICE that the attorneys for the parties shall confer with

respect to the issues raised by the Motion in advance for the purpose of determining whether a

consent judgment may be entered and/or for the purpose of stipulating to relevant facts.

Date: August 28, 2023                        McCARTER & ENGLISH LLP
      Wilmington, DE
                                             /s/ Kate Roggio Buck
                                             Kate Roggio Buck (DE #5140)
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                                             Attorneys for Peapack Capital Corporation




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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 11
 Yellow Corporation aka YRC Worldwide                      Case No. 23-11069-CTG
 Inc.,
                                                           Jointly administered
           Debtor.
                                                           Hearing: September 15, 2023 at 11:30 am

                                                           Obj. deadline: September 8, 2023 at 4:00 pm


                     MOTION OF PEAPACK CAPITAL CORPORATION FOR
                          RELIEF FROM THE AUTOMATIC STAY

          Peapack Capital Corporation (“PCC”) hereby moves (the “Motion”) for the entry of an

order granting relief from the automatic stay pursuant to Sections 362 of Title 11 of the United

States Code (the “Bankruptcy Code”), Rules 4001 and 9013 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Rules 4001-1 and 9013-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), in order to allow PCC to repossess certain property. In support of

the Motion, and along with the Affidavit of John O’Gorman (“O’Gorman Affidavit”) attached

hereto as Exhibit 1, PCC states as follows:

                                            JURISDICTION

          1.       This Court has jurisdiction over this proceeding pursuant to Title 28, Sections 157

and 1334 of the United States Code.

          2.       This proceeding is a core proceeding pursuant to Title 28, Section 157 of the United

States Code.




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           3.       Venue is proper in this Court under Title 28, Section 1408 of the United States

Code.

           4.       The statutory predicate for the relief sought herein is Sections 362 and 363 of the

Bankruptcy Code, Bankruptcy Rules 4001 and 9013 and Local Rules 4001-1 and 9013-1.

                                                 BACKGROUND

           5.       On or about August 6, 2023 and continuing on August 7, 2023 (collectively the

“Petition Date”), Yellow Corporation and twenty three (23) affiliated companies (collectively, the

“Debtors”) filed voluntary petitions for relief pursuant to Chapter 11 of the Bankruptcy Code.

                                                 The Master Lease
           6.       As set forth in the Master Lease 1 entered into by and between PCC and YRC

Enterprise Services Inc. (“Enterprise”), and the related equipment Schedules (with the Master

Lease each a “Lease” or collectively, the “Leases”), PCC is the owner and lessor of 950 trailers

(the “Equipment”) that it leases to YRC Inc. d/b/a YRC Freight (“YRC Inc.”) and USF Reddaway

Inc. (“Reddaway” collectively with Enterprise and YRC Inc., the Debtor-Lessees). O’Gorman

Affidavit at 1.

           7.       Each Lease constitutes a separate agreement between PCC as Lessor and the

specified Lessee Affiliate as Lessee. O’Gorman Affidavit at 3.
           8.       The Leases provide that upon termination and as long as there has occurred no

Event of Default, the Lessee may exercise an option to extend the lease term, return the equipment

to PCC or purchase the equipment under a formula established in the applicable Schedule.

O’Gorman Affidavit at 4.

           9.       As agreed by the parties, the Leases are true leases and not intended as security for

a loan. O’Gorman Affidavit at 4.




1
    Capitalized terms used herein shall have the meaning given in the O’Gorman Affidavit except as otherwise specified.
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                                            The Schedules
        10.        All of the Schedules are set to expire in approximately 2-4 months. O’Gorman

Affidavit at 8, 10, 12, 14.

        11.        Amended Schedule 1, which has a current expiration date of October 26, 2023

reflects a Total Equipment Cost of $9,173,516.80 and requires monthly payments of $110,839.23

each by the 26th day of each month. O’Gorman Affidavit at 8.

        12.        Amended Schedule 2, which has a current expiration date of November 21, 2023,

reflects a Total Equipment Cost of $9,088,181.76 and requires monthly payments of $109,949.46

each by the 21st day of each month. O’Gorman Affidavit at 10.

        13.        Schedule 4, which has a current expiration date of November 13, 2023, reflects a

Total Equipment Cost of $1,242,520.38 and requires monthly payments of $15,775.50 each by the

13th day of each month. O’Gorman Affidavit at 12.

        14.        Schedule 5, which has a current expiration date of December 27, 2023, reflects a

Total Equipment Cost of $1,100,600.50 and requires monthly payments of $13,884.82 each by the

27th day of each month. O’Gorman Affidavit at 14.

        15.        PCC is the owner of the Equipment and holds the physical titles to same. O’Gorman

Affidavit at 15.

                                           The Guaranties


        16.        YRC Worldwide Inc. (“Worldwide”) executed a Guaranty made and effective as of

August 25, 2017 (the “2017 Guaranty”) under which Worldwide guaranteed all of the respective

Lessee Affiliates’ obligations under the Schedules. O’Gorman Affidavit at 16.

        17.        Yellow Corporation (“Yellow”; together with Worldwide, the “Guarantor”)

executed a Guaranty made and effective as of February 4, 2021 (the “2021 Guaranty”) under which

Yellow guaranteed all of the respective Lessee Affiliates’ obligations under the Schedules.

O’Gorman Affidavit at 17.


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                                                Defaults


        18.        As of the date of this Affidavit, YRC Inc. and Reddaway failed to make timely

monthly payments due under their respective Schedules and the Master Lease as follows: (a)

beginning on July 26, 2023 under Schedule 1; for August 21, 2023 for Schedule 2; for August 13,

2023 for Schedule 4; and beginning July 27, 2023 for Schedule 5. In addition, the filing of these

bankruptcy proceedings on August 6, 2023 is an event of default under the Schedules and Master

Lease. O’Gorman Affidavit at 18.

        19.        In addition, PCC is unaware if the Debtor is honoring their contractual duties

related to use, maintenance and repair of the Equipment, including the obligation to keep the

Equipment in Debtor’s sole possession and control and in good working order. See Master Lease

at 6(b) and 7(a).

        20.        According to Debtor’s initial filings and statements made on the record, the Debtors

are winding-down operations rather than reorganizing or otherwise seeking to continue as a going

concern. See e.g. Affidavit/Declaration in Support of First Day Motion Declaration of Matthew

A. Doheny, Chief Restructuring Officer of Yellow Corporation, in Support of the Debtors' Chapter

11 Petitions and First Day Motions at D.I. 14.


                                                Remedies


        21.        YRC Inc. and Reddaway are in default under the Schedules and the Master Lease

(collectively with the Schedules, the “Agreement”) for, among other things, non-payment and the

commencement of these bankruptcy proceedings. The filing of this Motion constitutes any

required notice to these Lessees and the Guarantor of the defaults. O’Gorman Affidavit at 20.

        22.        Upon an Event of Default, PCC’s remedies include, without limitation, taking

possession of the leased equipment. In addition, PCC is entitled to collect from the Lessee any

outstanding monthly base rent plus, as liquidated damages, the Stipulated Loss Value as defined



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in each Schedule, attorney’s fees and costs, and any other sums due under the Leases, subject to

any adjustments and additional deficiencies. See Master Lease at Section 16(b).

        23.        Accordingly, PCC seeks relief from the automatic stay to exercise its rights under

the Leases to retrieve its Equipment. In furtherance of this relief, PCC seeks (a) confirmation that

insurance is in place on the Equipment, (b) a designated representative of the Debtors to coordinate

with PCC for delivery of the Equipment, and (c) the Debtors’ performance of its post-termination

obligations of identifying the locations of the Equipment and assembling same for retrieval by

PCC or its agent.

        24.        PCC does not consent to the sale of its Equipment as part of the Debtors’ proposed

liquidation of assets. To the extent the Debtors seek to assume (and presumably assign) any of the

Leases, PPC reserves all rights to protect its interests in the connection with same.

                                        RELIEF REQUESTED
        25.        PCC requests that the Court grant relief from the automatic stay, for cause pursuant

to § 362(d), and permit PCC to recover its Equipment pursuant to the Agreement. Additionally,

PCC requests that the Court expressly order the Debtor to (a) confirm that insurance is in place

on the Equipment, (b) designate a representative of the Debtors to coordinate with PCC for delivery

of the Equipment, and (c) perform its post-termination obligations of identifying the locations of

the Equipment and assembling same for retrieval by PCC or its agent.

                                         LEGAL ARGUMENT
        26.        Section 362 of the Bankruptcy Code automatically stays certain actions against the

Debtors upon the commencement of a bankruptcy proceeding. 11 U.S.C. § 362. However, “the

[automatic] stay is not meant to be indefinite or absolute, and in appropriate instances, relief may

be granted.” Matter of Rexene Products Co., 141 B.R. 574, 576 (Bankr. Del. 1992). See also,

Wedgewood Inv. Fund, Ltd. v. Wedgewood Realty Group, Ltd. (In re Wedgewood), 878 F.2d 693,

697 (3d Cir. 1989).




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        27.        Specifically, the Court may grant relief from the automatic stay "for cause" as set

forth in 11 U.S.C. § 362(d)(1). Or, pursuant to 11 U.S.C. § 362(d)(2), relief from the automatic

stay may be granted when the debtor does not have any equity in the property; and such property

is not necessary to an effective reorganization. 11 U.S.C. § 362(d); In re Indian Palms Assocs., 61

F.3d 197, 208 (3d Cir. 1995).

        28.        As the Bankruptcy Code does not define the term “cause”, Bankruptcy Courts are

given “wide latitude” to balance the equities when granting relief from an automatic stay. In re

Myers, 491 F.3d 120, 124 (3d Cir. 2007). Generally, Bankruptcy Courts apply a totality of the

circumstances test based upon the specific facts of each case to determine whether the automatic

stay should be lifted “for cause.” In re Fairchild Corp., 2009 Bankr. LEXIS 3815, 23 (Bankr. D.

Del. Dec. 1, 2009) (citing Bandolino v. Wilson (In re Wilson), 116 F.3d 87, 90 (3d Cir. 1997)).

“Section 362(d)(1) does not define “cause,” leaving courts to consider what constitutes cause based

on the totality of the circumstances in each particular case.” Bandolino v. Wilson (In re Wilson),

116 F.3d 87, 90 (3d Cir. 1997)).

        29.        Cause is an intentionally broad concept designed to permit the bankruptcy court, as

a court of equity, power to respond to inherently fact-sensitive situations. In re Texas State

Optical, Inc., 188 B.R. 552 (Bankr. E.D. Tex. 1995); see also In re Spencer, 115 B.R. 471 (D. Del.

1990) (“Cause” encompasses many situations and is not limited to situations involving lack of

adequate protection).

        30.        Here, cause exists to grant PCC relief from the automatic stay since (1) the

Equipment will continue to depreciate as a result of delay, (2) Debtor and its affiliates have ceased

operations, (3) the Debtor has no equity or ownership interest in the Equipment, and (4) one or

more of the Leases (possibly all) will expire and significant payments will come due prior to the

conclusion of any potential assumption and assignment of the Leases or a proposed sale of the

Equipment.




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          31.      Termination and repossession will relieve the Debtors of continuing obligations

and prevent PCC from suffering prejudice related to the potential depreciation of the equipment

(potentially exacerbated by a failure to maintain) and potential loss of valuable, bargained-for

rights.

          32.      PCC asserts that, in this case, the foregoing constitutes “cause” justifying relief

from the automatic stay. Without relief, PCC will be prejudiced by further delay.

          33.      No prior request for the relief sought in this Motion has been made to this or any

other court.

          34.      Nothing herein shall be deemed a waiver of or otherwise prejudice any of PCC's

claims and rights, whether legal or equitable.

                                            CONCLUSION

          WHEREFORE, based upon the foregoing, PCC respectfully requests that the Court enter

an Order in substantially the form attached hereto and granting such other and further relief as the

Court deems just and proper.


Dated: August 28, 2023
       Wilmington, Delaware                          MCCARTER & ENGLISH LLP

                                                     /s/ Kate R. Buck
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                                                     Attorneys for Peapack Capital Corporation




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                  PROPOSED FORM OF ORDER




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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re:                                                 Chapter 11
 Yellow Corporation aka YRC Worldwide                   Case No. 23-11069-CTG
 Inc.,
                                                        Jointly administered
           Debtor.
                                                        Re: _______


     ORDER GRANTING MOTION OF PEAPACK CAPITAL CORPORATION FOR
                  RELIEF FROM THE AUTOMATIC STAY

                   Upon review and consideration of the Motion of Peapack Capital Corporation

(“PCC”) for Relief from the Automatic Stay (the “Motion”), and any responses thereto; and

sufficient cause appearing therefor; it is hereby

          ORDERED, that the automatic stay under 11 U.S.C. §362 is hereby lifted for cause in order

to permit PCC to recover its Equipment pursuant to the Lease; and

          ORDERED, that within five (5) days of the entry of this order the Debtor (a) provide to

PPC documentation sufficient to confirm that insurance is in place on the Equipment; (b) designate

a representative of the Debtors to coordinate with PCC for delivery of the Equipment, and (c)

perform its post-termination obligations of identifying the locations of the Equipment; and

          ORDERED, that within ten (10) days of the entry of this order the Debtor assemble the

Equipment for retrieval by PCC or its agent.




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